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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                 Case No. 3:23-cr-62/MCR-02

MARIAN VASILACHE
_____________________________/

                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts One, Two, Three, and Five of

the indictment.     After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined the guilty plea

was knowing and voluntary and the offense charged is supported by an independent

basis in fact containing each of the essential elements thereof.         I therefore

recommend the plea of guilty be accepted and the Defendant be adjudicated guilty

and have sentence imposed accordingly.

Dated:         October 19, 2023.


                                   /s/   Hope Thai Cannon
                                   HOPE THAI CANNON
                                   UNITED STATES MAGISTRATE JUDGE


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                          NOTICE TO THE PARTIES


      Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's   findings   or   recommendations     contained     in   a   report    and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




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